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     Attorney for Defendant
6    Justin Garcia

7
                         IN THE UNITED STATES DISTRICT COURT FOR THE
8
                                EASTERN DISTRICT OF CALIFORNIA
9

10
     UNITED STATES OF AMERICA,                      )       No. 19-CR-00012-MCE
11                                                  )
            Plaintiff,                              )       STIPULATION AND
12                                                  )       ORDER CONTINUING SENTENCING
                                                    )       HEARING
13
     v.                                             )
                                                    )
14   JUSTIN JAMES GARCIA,                           )       Date: June 20, 2019
                                                    )       Time: 9:00 am.
15                                                  )       Judge: Honorable Morrison C. England, Jr.
            Defendant.                              )
16                                                  )
                                                    )
17                                                  )

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19
            IT IS HEREBY stipulated between the United States of America through its undersigned
20
     counsel, David Spencer, Assistant United States Attorney, attorney for plaintiff and Kyle Knapp,
21
     attorney for defendant Justin Garcia that the previously-scheduled sentencing hearing currently
22
     set for June 6, 2019, be vacated and that the matter be re-set for sentencing on June 20, 2019 at
23
     9:00 a.m.
24
            The final probation report has been received and there are a few issues that need to be
25
     further investigated that may affect the guidelines analysis. Defense counsel, probation and the
26
     government have had conferred and there is no objection to a brief continuance.
27
     //
28
     //


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1
     Formal objections, if any, and a sentencing memorandum will be filed a week prior to sentencing.
2

3    Dated: May 31, 2019                                        McGREGOR W. SCOTT
                                                                UNITED STATES ATTORNEY
4
                                                         by:    /s/ David Spencer
5
                                                                DAVID SPENCER
6                                                               Assistant U.S. Attorney
                                                                Attorney for Plaintiff
7

8
     Dated: May 31, 2019                                        /s/ Kyle R. Knapp
                                                                KYLE KNAPP
9                                                               Attorney for Defendant
                                                                JUSTIN GARCIA
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1                                               ORDER
2           The Stipulation of the parties is hereby accepted and the requested continuance is
3    GRANTED. This matter shall be dropped from this court’s June 6, 2019 criminal calendar and
4
     re-calendared for sentencing on June 20, 2019. Formal objections, if any and any sentencing
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     memorandums are to be filed by June 13, 2019.
6
            IT IS SO ORDERED.
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     Dated: June 4, 2019
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